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                                                                                   FILED
                                                                                 June 16, 2025
                         UNITED STATES DISTRICT COURT                       CLERK, U.S. DISTRICT COURT
                                                                            WESTERN DISTRICT OF TEXAS
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION                                         NM
                                                                         BY: ________________________________
                                                                                                 DEPUTY
 MARK ANTHONY ORTEGA                          §
 Individually and on Behalf of All            §
 Others Similarly Situated,                   §      CIVIL NO. SA-24-CV-00374-OLG
                                              §
                    Plaintiff,                §
                                              §
 v.                                           §
                                              §
 JKB FINANCIAL, INC.,                         §
                                              §
                   Defendant.

                        ORDER FOR DISMISSAL PAPERS
      On June 12, 2025, the Court was advised that this case has settled. (See Dkt. No. 30.)

Accordingly, it is hereby ORDERED that:

      1) The parties shall submit a stipulation of dismissal or agreed judgment and any
      appropriate supporting documents on or before Friday, July 18, 2025 . If the parties are
      unable to submit those documents by that date, they may move for an extension of time to
      file the documents. Failure to so move may result in a dismissal of this case from the
      Court’s docket for failure to diligently prosecute.
      2) All pretrial deadlines in this case are hereby STAYED pending the submission of the
      parties’ stipulation of dismissal or agreed judgment and any appropriate supporting
      documents. These deadlines will be reinstated if the parties are unable to finalize their
      settlement of this case.
      3) Any motions pending in this action are DENIED AS MOOT, subject to re-urging
      should settlement fail.
      4) The pretrial conference and trial settings are CANCELED.
      5) No extensions of the above deadline shall be granted except upon a showing of good
      cause.
      6) The Court hereby administratively CLOSES this case pending the filing of dismissal
      papers. If the parties wish to reopen this case, they may do so by filing a motion to that
      effect.
      It is so ORDERED.

      SIGNED this 16th day of June, 2025.
                                                   ____________________________
                                                   ORLANDO L. GARCIA
                                                   UNITED STATES DISTRICT JUDGE
